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Fill in this information to identify your case:

Debtor 1          Steve Reed

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:     Northern District of Illinois

Case number
(if known)                                                                                                 Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                  04/22

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

Part 1:       Calculate Your Deductions from Your Income

   The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
   the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
   information may also be available at the bankruptcy clerk’s office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
   expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
   122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

   If your expenses differ from month to month, enter the average expense.

   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

   5.     The number of people used in determining your deductions from income

          Fill in the number of people who could be claimed as exemptions on your federal income tax return,
          plus the number of any additional dependents whom you support. This number may be different from                   1
          the number of people in your household.



   National Standards              You must use the IRS National Standards to answer the questions in lines 6-7.



   6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
          Standards, fill in the dollar amount for food, clothing, and other items.                                              $            785.00


   7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
          the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
          people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
          higher than this IRS amount, you may deduct the additional amount on line 22.




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   People who are under 65 years of age

           7a. Out-of-pocket health care allowance per person             $             75

           7b. Number of people who are under 65                          X         1

           7c. Subtotal. Multiply line 7a by line 7b.                     $        75.00            Copy here=>        $             75.00

   People who are 65 years of age or older

           7d. Out-of-pocket health care allowance per person             $          153

           7e. Number of people who are 65 or older                       X         0

           7f.    Subtotal. Multiply line 7d by line 7e.                  $         0.00            Copy here=>        $              0.00


           7g. Total. Add line 7c and line 7f                                                $      75.00                   Copy total here=> $          75.00



   Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.
   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
        Housing and utilities - Insurance and operating expenses
        Housing and utilities - Mortgage or rent expenses
   To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
   separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
   8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
       in the dollar amount listed for your county for insurance and operating expenses.                               $               611.00

   9.      Housing and utilities - Mortgage or rent expenses:

           9a. Using the number of people you entered in line 5, fill in the dollar amount
               listed for your county for mortgage or rent expenses.                                                   $        1,425.00

           9b. Total average monthly payment for all mortgages and other debts secured by your home.
                  To calculate the total average monthly payment, add all amounts that are
                  contractually due to each secured creditor in the 60 months after you file
                  for bankruptcy. Next divide by 60.

                  Name of the creditor                                        Average monthly
                                                                              payment

                  Selene Finance LP                                           $         2,108.88

                                                                                                    Copy                                       Repeat this amount
                                   9b. Total average monthly payment          $         2,108.88    here=>        -$               2,108.88 on line 33a.

           9c. Net mortgage or rent expense.

                  Subtract line 9b (total average monthly payment) from line 9a (mortgage                                             Copy
                  or rent expense). If this number is less than $0, enter $0.                          $                    0.00      here=>    $           0.00


   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
       affects the calculation of your monthly expenses, fill in any additional amount you claim.                                              $            0.00

            Explain why:




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   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

              0. Go to line 14.

              1. Go to line 12.

              2 or more. Go to line 12.


   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                  $       267.00
   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
       You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
       more than two vehicles.
    Vehicle 1         Describe Vehicle 1:

   13a. Ownership or leasing costs using IRS Local Standard..................................................         $              0.00
   13b. Average monthly payment for all debts secured by Vehicle 1.
           Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 13e, add all amounts that
           are contractually due to each secured creditor in the 60 months after you file for
           bankruptcy. Then divide by 60.

                Name of each creditor for Vehicle 1                               Average monthly
                                                                                  payment

                -NONE-                                                            $

                                                                                                                                                     Repeat this
                                                                                                                 Copy                                amount on
                                       Total Average Monthly Payment              $                 0.00         here =>       -$           0.00     line 33b.



   13c. Net Vehicle 1 ownership or lease expense                                                                                                Copy net
                                                                                                                                                Vehicle 1
           Subtract line 13b from line 13a. if the numbert is less than $0, enter $0. ...................                                       expense here
                                                                                                                      $              0.00       =>              $     0.00


    Vehicle 2         Describe Vehicle 2:

   13d. Ownership or leasing costs using IRS Local Standard..................................................         $              0.00
   13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
        leased vehicles.

                Name of each creditor for Vehicle 2                               Average monthly
                                                                                  payment

                                                                                  $

                                                                                                                 Copy                            Repeat this
                                                                                                                 here                            amount on line
                                       Total average monthly payment              $                              =>                      0.00    33c.
                                                                                                                          -$

   13f. Net Vehicle 2 ownership or lease expense                                                                                                Copy net
                                                                                                                                                Vehicle 2
           Subtract line 13e from line 13d. if this number is less than $0, enter $0. .....................                                     expense here
                                                                                                                      $              0.00       =>              $     0.00


   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.                                                         $         0.00
   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
       also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
       not claim more than the IRS Local Standard for Public Transportation.                                                                                $         0.00


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   Other Necessary Expenses             In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                        the following IRS categories.

   16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
       self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
       your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
       and subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.                                                                                 $     1,547.00
   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
       contributions, union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.             $         0.00
   18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
       filing together, include payments that you make for your spouse's term life insurance.
       Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
       of life insurance other than term.                                                                                               $         0.00
   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or administrative
       agency, such as spousal or child support payments.
           Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.    $         0.00
   20. Education: The total monthly amount that you pay for education that is either required:
              as a condition for your job, or
              for your physically or mentally challenged dependent child if no public education is available for similar services.      $         0.00
   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                        $         0.00
   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
       that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
       by a health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                       $         0.00
   23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
       for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
       phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
       income, if it is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                      +$         0.00

   24. Add all of the expenses allowed under the IRS expense allowances.                                                               $    3,285.00
       Add lines 6 through 23.
   Additional Expense Deductions                These are additional deductions allowed by the Means Test.
                                                Note: Do not include any expense allowances listed in lines 6-24.

   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
       your dependents.
           Health insurance                                              $       258.53
           Disability insurance                                          $          0.00
           Health savings account                                     +$            0.00

           Total                                                         $         258.53       Copy total here=>                      $       258.53

           Do you actually spend this total amount?
                  No. How much do you actually spend?
                    Yes                                                  $

   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may
       include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b).                                            $         0.00
   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
       safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.

           By law, the court must keep the nature of these expenses confidential.                                                       $         0.00

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   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
       line 8.
           If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
           8, then fill in the excess amount of home energy costs.
           You must give your case trustee documentation of your actual expenses, and you must show that the additional
           amount claimed is reasonable and necessary.                                                                                     $              0.00
   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
       $189.58* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
       public elementary or secondary school.
           You must give your case trustee documentation of your actual expenses, and you must explain why the amount
           claimed is reasonable and necessary and not already accounted for in lines 6-23.
           * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.            $              0.00
   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
       than 5% of the food and clothing allowances in the IRS National Standards.
           To find a chart showing the maximum additional allowance, go online using the link specified in the separate
           instructions for this form. This chart may also be available at the bankruptcy clerk's office.
           You must show that the additional amount claimed is reasonable and necessary.                                                   $              0.00
   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
       instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).

           Do not include any amount more than 15% of your gross monthly income.                                                           $              0.00

   32. Add all of the additional expense deductions.                                                                                       $         258.53
       Add lines 25 through 31.

   Deductions for Debt Payment

   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
       To calculate the total average monthly payment, add all amounts that are contractually due to each secured
       creditor in the 60 months after you file for bankruptcy. Then divide by 60.
             Mortgages on your home                                                                                                    Average monthly
                                                                                                                                       payment
   33a.      Copy line 9b here                                                                                                    =>   $           2,108.88
             Loans on your first two vehicles
   33b.      Copy line 13b here                                                                                                   =>   $               0.00
   33c.      Copy line 13e here                                                                                                   =>   $               0.00
   33d. List other secured debts
   Name of each creditor for other secured debt          Identify property that secures the debt                     Does payment
                                                                                                                     include taxes
                                                                                                                     or insurance?

                                                                                                                            No
            -NONE-                                                                                                          Yes        $


                                                                                                                            No
                                                                                                                            Yes        $


                                                                                                                            No
                                                                                                                            Yes   +    $


                                                                                                                                  Copy
                                                                                                                                  total
   33e. Total average monthly payment. Add lines 33a through 33d                                       $           2,108.88       here=>       $    2,108.88



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   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?

              No.      Go to line 35.
              Yes. State any amount that you must pay to a creditor, in addition to the payments
                   listed in line 33, to keep possession of your property (called the cure amount).
                   Next, divide by 60 and fill in the information below.

    Name of the creditor                                         Identify property that secures the debt                    Total cure amount                   Monthly cure
                                                                                                                                                                amount

                                                                 15752 Church Drive South Holland, IL
                                                                 60473 Cook County
    Selene Finance LP                                            Primary Residence                                      $              30,000.00 ÷ 60 = $                     500.00
                                                                                                                        $                            ÷ 60 = $
                                                                                                                        $                            ÷ 60 = +$
                                                                                                                                                          Copy
                                                                                                                                                          total
                                                                                                                Total $                     500.00        here=>          $      500.00

   35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
       are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

              No.      Go to line 36.
              Yes. Fill in the total amount of all of these priority claims. Do not include current or
                   ongoing priority claims, such as those you listed in line 19.

                         Total amount of all past-due priority claims                                                       $           15,000.00          ÷ 60       $          250.00

   36. Projected monthly Chapter 13 plan payment                                                                            $
       Current multiplier for your district as stated on the list issued by the Administrative
       Office of the United States Courts (for districts in Alabama and North Carolina) or by
       the Executive Office for United States Trustees (for all other districts).                                           X
       To find a list of district multipliers that includes your district, go online using the link specified in the
       separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                        Copy total
       Average monthly administrative expense                                                                                   $                       here=> $



   37. Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                          $       2,858.88


   Total Deductions from Income

   38. Add all of the allowed deductions.
           Copy line 24, All of the expenses allowed under IRS
           expense allowances                                                                    $          3,285.00
           Copy line 32, All of the additional expense deductions                                $             258.53
           Copy line 37, All of the deductions for debt payment                                 +$          2,858.88


           Total deductions..................................................................    $          6,402.41                Copy total here=>             $             6,402.41




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Part 2:     Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

   39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
       Statement of Your Current Monthly Income and Calculation of Commitment Period.                                         $                  6,962.00
   40. Fill in any reasonably necessary income you receive for support for dependent
       children. The monthly average of any child support payments, foster care payments, or
       disability payments for a dependent child, reported in Part I of Form 122C-1, that you
       received in accordance with applicable nonbankruptcy law to the extent reasonably
       necessary to be expended for such child.                                                          $                 0.00
   41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
       employer withheld from wages as contributions for qualified retirement plans, as specified
       in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
       specified in 11 U.S.C. § 362(b)(19).                                                              $                 0.00
   42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here           =>    $            6,402.41
   43. Deduction for special circumstances. If special circumstances justify additional
       expenses and you have no reasonable alternative, describe the special circumstances and
       their expenses. You must give your case trustee a detailed explanation of the special
       circumstances and documentation for the expenses.

   Describe the special circumstances                                               Amount of expense

                                                                                $
                                                                                $
                                                                                $

                                                                                                        Copy
                                                                     Total $                0.00        here=> $                  0.00


                                                                                                                             Copy
   44. Total adjustments. Add lines 40 through 43                                           =>      $          6,402.41      here=> -$           6,402.41


   45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                                $              559.59


Part 3:     Change in Income or Expenses

   46. Change in income or expenses. If the income in Form 122C-1 or the expenses you
       reported in this form have changed or are virtually certain to change after the date you filed
       your bankruptcy petition and during the time your case will be open, fill in the information
       below. For example, if the wages reported increased after you filed your petition, check
       122C-1 in the first column, enter line 2 in the second column, explain why the wages
       increased, fill in when the increase occurred, and fill in the amount of the increase.

   Form          Line         Reason for change                                      Date of change          Increase or      Amount of change
                                                                                                             decrease?

      122C-1                                                                                                    Increase
      122C-2                                                                                                    Decrease      $
      122C-1                                                                                                    Increase
      122C-2                                                                                                    Decrease      $
      122C-1                                                                                                    Increase
      122C-2                                                                                                    Decrease      $
      122C-1                                                                                                    Increase
      122C-2                                                                                                    Decrease      $




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Part 4:        Sign Below



           By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


      X /s/ Steve Reed
            Steve Reed
            Signature of Debtor 1
   Date August 9, 2022
        MM / DD / YYYY




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